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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


JOSEPH MATTHEW KETSENBURG,                       )
                                                 )
              Plaintiff,                         )
                                                 )           No. 4:21-CV-220 RLW
       v.                                        )
                                                 )
CHEXSYSTEMS, INCORPORATED,                       )
                                                 )
              Defendant.                         )

                               MEMORANDUM AND ORDER

       This matter is before the Court on self-represented Plaintiff Joseph Matthew

Ketsenburg’s Motion Requesting Leave to Amend Complaint (ECF No. 20). Attached to the

Motion is Plaintiff’s proposed First Amended Complaint.

       As an initial matter, Plaintiff does not need leave of Court to amend his Complaint

because he has not previously amended it, and the Defendant has not yet served a responsive

pleading. See Rule 15(a)(1)(B), Federal Rules of Civil Procedure.

       However, the Court will not permit the filing of Plaintiff’s proposed First Amended

Complaint. As the Court stated in the Memorandum and Order of May 10, 2021 (ECF No. 19),

               Plaintiff is warned that the filing of an amended complaint replaces the
       original complaint entirely, so it must include all claims Plaintiff wishes to bring.
       See, e.g., In re Wireless Telephone Federal Cost Recovery Fees Litigation, 396
       F.3d 922, 928 (8th Cir. 2005). Plaintiff’s amended complaint must comply with
       Rules 8 and 10 of the Federal Rules of Civil Procedure. Rule 8 requires plaintiff
       to set forth a short and plain statement of the claim showing entitlement to relief,
       and it also requires that each averment be simple, concise and direct. Rule 10
       requires plaintiff to state his claims in separately numbered paragraphs, each
       limited as far as practicable to a single set of circumstances.

(Mem. and Order, ECF No. 19 at 2.)
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       Plaintiff’s proposed First Amended Complaint violates the foregoing statement and this

Court’s requirements because it incorporates by reference facts from his original Complaint.

This type of incorporation is impermissible because it fails to recognize the rule that an amended

complaint completely replaces the original complaint. It also tends to cause confusion in the

record and for other parties, as incorporation would require multiple documents to be consulted

in determining the content of Plaintiff’s complaint and formulating a response thereto.

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiff’s Motion Requesting Leave to Amend

Complaint (ECF No. 20) is DENIED without prejudice.

       IT IS FURTHER ORDERED that Plaintiff shall file an Amended Complaint that

complies with the requirements of the Court’s Memorandum and Order of May 10, 2021 (ECF

No. 19), by May 19, 2021. If Plaintiff fails to meet this deadline, the Court will treat the

original Complaint as the operative complaint.

       IT IS FURTHER ORDERED that Defendant ChexSystems, Incorporated, shall file its

response to Plaintiff’s Amended Complaint or, if an Amended Complaint is not filed, a response

to the pending operative Complaint, by June 9, 2021.




                                                 __________________________________
                                                 RONNIE L. WHITE
                                                 UNITED STATES DISTRICT JUDGE


Dated this 12th day of May, 2021.




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